        Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 1 of 75 Page ID #:19

                                             Order on Court Fee Waiver
       FW-003
                                                                                                       Clerk stamps date here when form is filed.

                                             (Superior Court)

  1       Person who asked the court to waive court fees:
          Name: John August
          Street or mailing address: 5939 Coldbrook Ave. Room 3
          City: Lakewood                                    State: CA       Zip: 90713

  2      Lawyer, if person in 1 has one (name, address, phone number,
         e-mail, and State Bar number):
                                                                                                    Fill in court name and street address:
                                                                                                    Superior Court of California, County of
                                                                                                                /RV$QJHOHV
                                                                                                    Stanley Mosk Courthouse
  3       A request to waive court fees was filed
          on (date): 12/09/2019                                                                      111 North Hill Street

              The court made a previous fee waiver order in this case                               Los Angeles CA 90012
              on (date):                                                                            Fill in case number and case name:
                                                                                                    Case Number:
                                                                                                     19STSC13664
 Read this form carefully. All checked boxes                            are court orders.           Case Name:
                                                                                                    JOHN AUGUST vs ST. JOHN'S WELL CHILD AND FAMILY CENTER



 Notice: The court may order you to answer questions about your finances and later order you to pay back the waived
 fees. If this happens and you do not pay, the court can make you pay the fees and also charge you collection fees. If there
 is a change in your financial circumstances during this case that increases your ability to pay fees and costs, you must
 notify the trial court within five days. (Use form FW-010.) If you win your case, the trial court may order the other side
 to pay the fees. If you settle your civil case for $10,000 or more, the trial court will have a lien on the settlement in the
 amount of the waived fees. The trial court may not dismiss the case until the lien is paid.


  4 After reviewing your (check one): ✔ Request to Waive Court Fees                              Request to Waive Additional Court Fees
    the court makes the following orders:
      a. ✔ The court grants your request, as follows:
         (1) ✔ Fee Waiver. The court grants your request and waives your court fees and costs listed below. (Cal.
                       5XOHVRI&RXUWUXOHDQG <RXGRQRWKDYHWRSD\WKHFRXUWIHHVIRUWKHIROORZLQJ
                 • Filing papers in Superior Court                               • Giving notice and certificates
                 • Making copies and certifying copies                           • Sending papers to another court department
                 • Sheriff ’s fee to give notice                                 • Court-appointed interpreter in small claims court
                 • Court fees for phone hearings
                 • Reporter’s IHHIRUDWWHQGDQFHDWKHDULQJRUWULDOLIUHSRUWHUSURYLGHGE\WKHFRXUW
                 • $VVHVVPHQWIRUFRXUWLQYHVWLJDWLRQVXQGHU3UREDWH&RGHVHFWLRQRU
                 • Preparing and certifying the clerk’s transcript on appeal
                 • +ROGLQJLQWUXVWWKHGHSRVLWIRUDUHSRUWHU VWUDQVFULSWRQDDSSHDOXQGHUUXOHRU
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          (2)         Additional Fee Waiver.The court grants your request and waives your additional superior court fees
                      DQGcosts that are checked below. (Cal. Rules of Court, rule 3.56.) Youdo not have to pay for the
                           Jury fees and expenses                                     Fees for a peace officer to testify in court
                           Fees for court-appointed experts                           Court-appointed interpreter fees for a witness

                           Other (specify):
Judicial Council of California, www.courtinfo.ca.gov
Revised July 1, 20, Mandatory Form                    Order on Court Fee Waiver (Superior Court)                                FW-003, Page 1 of 2
Government Code, § 68634(e)
California Rules of Court, rule 3.52                                                                                       USA_000001
        Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 2 of 75 Page ID #:20
                                                                                                Case Number:

Your name: John August                                                                           19STSC13664

   b.          The court denies your request, as follows:
                Warning! If you miss the deadline below, the court cannot process your request for hearing or the court papers
                you filed with your original request. If the papers were a notice of appeal, the appeal may be dismissed.
         (1)           The court denies your request because it is incomplete. You have 10 days after the clerk gives notice of
                       this order (see date RIVHUYLFHRQQH[WSDJH) to:
                         • Pay your fees and costs, or
                         • File a new revised request that includes the items listed below (specify incomplete items):


         (2)           The court denies your request because the information you provided on the request shows that you are not
                       eligible for the fee waiver you requested (specify reasons):

                 The court has enclosed a blank Request for Hearing About Court Fee Waiver Order (Superior Court),
                 form FW-006. You have 10 days after the clerk gives notice of this order (see dateRIVHUYLFHbelow) to:
                   • Pay your fees and costsLQIXOO orWKHDPRXQWOLVWHGLQFEHORZRU
                   • Ask for a hearing in order to show the court more information. (Use form FW-006 to request
                     hearing.)
  c.         The court needs more information to decide whether to grant your request. You must go to court on the date
             below. The hearing will be about (specify questions regarding eligibility):


                       Bring the following proof to support your request if reasonably available:

                                                                                 Name and address of court if different from page 1:
           Hearing
                              Date:                      Time:
            Date
                              Dept.:                     Rm.:
               Warning! If item c is checked, and you do not go to court on your hearing date, the judge will deny your request to
               waive court fees, and you will have 10 dayss to pay yourr fees.
                                                                          fees. If you miss that deadline, the court cannot
                                                                                                                     ca     process
               the court papers you filed with your request.
                                                          t. Iff the papers were a notice of appeal, the appeal may be dismissed.




        Date: 12/09/2019
                                                 4JHOBUVSFPG DIFDLPOF           +VEJDJBM0GGJDFS    ✔   $MFSL %FQVUZ
               Request for Accommodations. Assistive listening systems, computer-assisted real-time captioning, or sign
               language interpreter services are available if you ask at least 5 days before your hearing. Contact the clerk’s
               office for Request for Accommodation, Form MC-410. (Civil Code, § 54.8.)
                                                    Clerk's Certificate of Service
I certify that I am not involved in this case and (check one):       A certificate of mailing is attached.
✔ I handed a copy of this order to the party and attorney, if any, listed in 1 and 2 , at the court, on the date below.
  This order was mailed first class, postage paid, to the party and attorney, if any, at the addresses listed in 1 and 2 ,
  from (city): Los Angeles                            , California on the date below.

                                                                       Sherri R. Carter, Executive Officer / Clerk of Court

Date: 12/09/2019                                                                   E\   J Huynh                                     , Deputy
Revised July 1, 20                                                                                                     FW-003, Page 2 of 2
                                                      This is a Court Order.
                                            Order on Court Fee Waiver (Superior Court)                             USA_000002
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 3 of 75 Page ID #:21




                                                                   USA_000003
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 4 of 75 Page ID #:22




                                                                   USA_000004
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 5 of 75 Page ID #:23




                                                                   USA_000005
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 6 of 75 Page ID #:24




                                                                   USA_000006
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 7 of 75 Page ID #:25




                                                                   USA_000007
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 8 of 75 Page ID #:26




                                                                   USA_000008
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 9 of 75 Page ID #:27




                                                                   USA_000009
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 10 of 75 Page ID #:28




                                                                   USA_000010
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 11 of 75 Page ID #:29




                                                                   USA_000011
       Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 12 of 75 Page ID #:30
CENTRAL DISTRICT                                                                         SMALL CLAIMS CASE NO: 19STSC13664
Stanley Mosk Courthouse
111 North Hill Street
Los Angeles CA 90012
                                         - NOTICE TO ALL PLAINTIFFS AND DEFENDANTS –
 Your small claims case has been decided. If you lost the case, and the court ordered you to pay money, your wages, money, and property
       may be taken without further warning from the court. Read the back of this sheet for important information about your rights.
                                   - AVISO A TODOS LOS DEMANDANTES Y DEMANDADOS –
  Su caso ha sido resuelto por la corte para reclarnos judiciales menores. Si la corte ha decidido en su contra y ha ordenado que usted
  pague dinero, le pueden quitar su salario, su dinero, y otras cosas de su propiedad, sin aviso adicional por parte de esta corte. Lea el
                      reverso de este formulario para obtener informacion de importancia acerca de sus derechos.

PLAINTIFF/DEMANDANTE                                                                                        DEFENDANT/DEMANDADO
John August                                                                                                 St. John's Well Child and Family Center
5939 Coldbrook Ave.                                                                                         Inc.
 Room 3                                                                                                     5939 Coldbrook
 Lakewood, CA 90713                                                                                         Lakewood, CA 90713


                                                       NOTICE OF ENTRY OF JUDGMENT
JUDGMENT WAS ENTERED AS STATED BELOW ON (DATE): 02/06/2020
Court orders judgment entered for Plaintiff John August against Defendant St. John's Well Child and Family Center Inc. on
the Plaintiff's Claim filed by John August on 12/09/2019 for the principal amount of $10,000.00 and costs of $115.00 for a
total of $10,115.00.

Waived fees and costs in the amount of $115.00, including those incurred after judgment, must be paid directly to the court
by Defendant St. John's Well Child and Family Center Inc.. A full or partial satisfaction of judgment will not be entered unless
waived fees are paid per Government Code section 68637(b)(1). An Administrative fee of $25.00 must be assessed if the
collection process is initiated to collect unpaid fees per Government Code section 68638.


------------------------------------------------------------------------------------------------------------------------------------------------------

Enforcement of the judgment is automatically postponed for 30 days or, if an appeal is filed, until the appeal is decided.




CLERK'S CERTIFICATE OF MAILING - I certify that I am not a party to this action. This Notice of Entry of Judgment was mailed first class, postage
prepaid, in a sealed envelope to the parties at the addresses shown above. The mailing and this certification occurred at the place and on the date shown
below.

Place of mailing: Los Angeles CA 90012
Date of mailing: 02/6/2020




                                                                                  Clerk by                                             , Deputy
                  -       The county provides small claims advisor services free of charge. Read the information sheet on the reverse.
SC-130 (Rev. 7/1/10)                              NOTICE OF ENTRY OF JUDGMENT (Small Claims)                                        Page 1 of 2


                                                                                                                                     USA_000012
       Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 13 of 75 Page ID #:31

                INFORMATION AFTER JUDGMENT / INFORMACION DESPUES DEL FALLO DE LA CORTE

  Your small claims case has been decided. The judgment or decision of the court appears on the front of this sheet. The court
  may have ordered one party to pay money to the other party. The person (or business) who won the case and who can collect
  the money is called the judgment creditor. The person (or business) who lost the case and who owes the money is called the
  judgment debtor.
  Enforcement of the judgment is postponed until the time for appeal ends or until the appeal is decided. This means that the
  judgment creditor cannot collect any money or take any action until this period is over. Generally, both parties may be
  represented by lawyers after judgment.
IF YOU LOST THE CASE . . .
  1 . If you lost the case on your own claim and the court did not award you       b. VOLUNTARY PAYMENT
        any money, the court's decision on your claim is FINAL. You may not           Ask the judgment debtor to pay the money. If your claim was for
        appeal your own claim.                                                        possession of property, ask the judgment debtor to return the property to
      2 . If you lost the case and the court ordered you to pay money, your           you. THE COURT WILL NOT COLLECT THE MONEY OR ENFORCE
           money and property may be taken to pay the claim unless you do             THE JUDGMENT FOR YOU.
           one of the following things:
      a. PAY THE JUDGMENT                                                          c. STATEMENT OF ASSETS
           The law requires you to pay the amount of the judgment. You may            If the judgment debtor does not pay the money, the law requires the
           pay the judgment creditor directly, or pay the judgment to the court       debtor to fill out a form called the Judgment Debtor's Statement of Assets
           for an additional fee. You may also ask the court to order monthly         (form SC-133). This form will tell you what property the judgment debtor
           payments you can afford. Ask the clerk for information about these         has that may be available to pay your claim. If the judgment debtor
           procedures.                                                                willfully fails to send you the completed form, you may file an Application
       b. APPEAL                                                                      and Order to Produce Statement of Assets and to Appear for
           If you disagree with the court's decision, you may appeal the              Examination (form SC-134) and ask the court to give you your attorney's
           decision on the other party's claim. You may not appeal the                fees and expenses and other appropriate relief, after proper notice,
           decision on your own claim. However, if any party appeals, there           under Code of Civil Procedure section 708.170.
           will be a new trial on all the claims. If you appeared at the trial,
           you must begin your appeal by filing a form called a Notice of          d. ORDER OF EXAMINATION
           Appeal (form SC-140) and pay the required fees within 30 days               You may also make the debtor come to court to answer questions
           after the date this Notice of Entry of Judgment was mailed or               about income and property. To do this, ask the clerk for an Application
           handed to you. Your appeal will be in the superior court. You will          and Order for Appearance and Examination (Enforcement of
           have a new trial and you must present your evidence again. You              Judgment) (form EJ-125) and pay the required fee. There is a fee if a
           may be represented by a lawyer.                                             law officer serves the order on the judgment debtor. You may also
       c. VACATE OR CANCEL THE JUDGMENT                                                obtain the judgment debtors financial records. Ask the clerk for the
           If you did not go to the trial, you may ask the court to vacate or          Small Claims Subpoena and Declaration (form SC-107) or Civil
           cancel the judgment. To make this request, you must file a Motion           Subpoena Duces Tecum (form SUBP-002).
           to Vacate the Judgment (form SC-135) and pay the required fee
           within 30 days after the date this Notice of Entry of Judgment was      e. WRIT OF EXECUTION
           mailed. If your request is denied, you then have 10 days from the          After you find out about the judgment debtor's property, you may ask
           date the notice of denial was mailed to file an appeal. The period to      the court for a Writ of Execution (form EJ-1 30) and pay the required
           file the Motion to Vacate the Judgment is 180 days if you were not         fee. A writ of execution is a court paper that tells a law officer to take
           properly served with the claim. The 180-day period begins on the           property of the judgment debtor to pay your claim. Here are some
           date you found out or should have found out about the judgment             examples of the kinds of property the officer may be able to take:
           against you.                                                               wages, bank account, automobile, business property, or rental
   IF YOU WON THE CASE . . .                                                          income. For some kinds of property, you may need to file other
   1. If you were sued by the other party and you won the case, then                  forms. See the law officer for information.
         the other party may not appeal the court's decision.
  2. If you won the case and the court awarded you money, here are                 f. ABSTRACT OF JUDGMENT
        some steps you may take to collect your money or get                           The judgment debtor may own land or a house or other buildings.
        possession of your property:                                                   You may want to put a lien on the property so that you will be paid if
         a. COLLECTING FEES AND INTEREST                                               the property is sold. You can get a lien by filing an Abstract of
               Sometimes fees are charged for filing court papers or for               Judgment (form EJ-001) with the county recorder in the county
               serving the judgment debtor. These extra costs can become               where the property is located. The recorder will charge a fee for the
               part of your original judgment. To claim these fees, ask the            Abstract of Judgment
               clerk for a Memorandum of Costs.
NOTICE TO THE PARTY WHO WON: As soon as you have been paid in full, you must fill out the form below and mail it to the court immediately or you may
be fined. If an Abstract of JUDGMENT has been recorded, you must use another form; see the clerk for the proper form.

                                                       SMALL CLAIMS CASE NO.:19STSC13664
                                                 ACKNOWLEDGMENT OF SATISFACTION OF JUDGMENT
                                             (Do not use this form if an Abstract of Judgment has been recorded.)
To the Clerk of the Court:
I am the [ ] judgment creditor [ ] assignee of record.
I agree that the JUDGMENT in this action has been paid in full or otherwise satisfied.

Date:
___________________________________________________________                        ___________________________________________________________
(TYPE OR PRINT NAME)                                                               (SIGNATURE)




                                                                                                                                   USA_000013
   Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 14 of 75 Page ID #:32
                                                                                       Reserved for Clerk’s File Stamp
                SUPERIOR COURT OF CALIFORNIA
                      COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
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  PLAINTIFF:

  -RKQ$XJXVW
  DEFENDANT:

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 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 15 of 75 Page ID #:33
                                                                                 Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Payment Due on Waived Fees and
Costs upon each party or counsel named below by placing the document for collection and mailing so as
to cause it to be deposited in the United States mail at the courthouse in Los Angeles, California, one copy
of the original filed/entered herein in a separate sealed envelope to each address as shown below with the
postage thereon fully prepaid, in accordance with standard court practices.




    St. John's Well Child and Family Center Inc.
    5939 Coldbrook
    Lakewood, CA 90713




                                                    Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 02/6/2020                                     By:   Hyon Chu Westfall
                                                           Deputy Clerk



                                                                                            USA_000015
                                        CERTIFICATE OF MAILING
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 16 of 75 Page ID #:34




                                                                   USA_000016
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 17 of 75 Page ID #:35




                                                                   USA_000017
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 18 of 75 Page ID #:36




                                                                   USA_000018
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 19 of 75 Page ID #:37




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 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 20 of 75 Page ID #:38
                                                                                   Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Appeal on Small Claims Judgment,
Notice of Hearing on Small Claims Appeal upon each party or counsel named below by placing the
document for collection and mailing so as to cause it to be deposited in the United States mail at the
courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate sealed
envelope to each address as shown below with the postage thereon fully prepaid, in accordance with
standard court practices.




    John August                                                St. John's Well Child and Family Center Inc.
    5939 Coldbrook Ave.                                        5939 Coldbrook
    Room 3                                                     Lakewood, CA 90713
    Lakewood, CA 90713




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 03/6/2020                                     By:   J. Huynh
                                                           Deputy Clerk



                                                                                              USA_000020
                                     CERTIFICATE OF MAILING
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 21 of 75 Page ID #:39




                                                                   USA_000021
   Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 22 of 75 Page ID #:40

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 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 23 of 75 Page ID #:41
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Small Claims Appeal - Trial De
Novo) of 04/06/2020 upon each party or counsel named below by placing the document for collection and
mailing so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as
shown below with the postage thereon fully prepaid, in accordance with standard court practices.




    John August                                               St. John's Well Child and Family Center Inc.
    5939 Coldbrook Ave.                                       5939 Coldbrook
    Room 3                                                    Lakewood, CA 90713
    Lakewood, CA 90713




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 03/20/2020                                    By:   D. Canada
                                                           Deputy Clerk



                                                                                             USA_000023
                                     CERTIFICATE OF MAILING
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 24 of 75 Page ID #:42

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                             Civil Division
                     Central District, Stanley Mosk Courthouse, Department 1A

  19STSC13664                                                                           April 6, 2020
  JOHN AUGUST vs ST. JOHN'S WELL CHILD AND FAMILY                                           8:30 AM
  CENTER INC.


  Judge: Honorable Thomas J. Griego                CSR: None
  Judicial Assistant: D. Canada                    ERM: None
  Courtroom Assistant: None                        Deputy Sheriff: S. Castro-Ramos

  APPEARANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Small Claims Appeal - Trial De Novo

  Based on current conditions, including, but not limited to, the spread of COVID-19, the need for
  social distancing, and the state of emergency having been declared by Governor Newsom, and
  pursuant to the Administrative Order dated March 17, 2020 issued by the Presiding Judge, the
  court finds good cause to continue this matter.

  The Court has pre-approved you to utilize CourtCall instead of appearing in person.

  Please call the following number: 888-882-6878 ext. 222 to set up Courtcall or you can also visit
  their website at www.courtcall.com

  On the Court's own motion, the above matter(s) is/are continued to 06/22/2020, at 08:30 AM in
  Department 1A at Stanley Mosk Courthouse.

  Certificate of Mailing is attached.




                                           Minute Order                                   Page 1 of 1
                                                                                     USA_000024
 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 25 of 75 Page ID #:43
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Continuance Due to COVID-19 State of
Emergency Declarations upon each party or counsel named below by placing the document for collection
and mailing so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as
shown below with the postage thereon fully prepaid, in accordance with standard court practices.




    John August                                               St. John's Well Child and Family Center Inc.
    5939 Coldbrook Ave.                                       5939 Coldbrook
    Room 3                                                    Lakewood, CA 90713
    Lakewood, CA 90713




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 06/9/2020                                     By:   T. Kelley
                                                           Deputy Clerk



                                                                                             USA_000025
                                     CERTIFICATE OF MAILING
   Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 26 of 75 Page ID #:44



                                                                                       Reserved for Clerk’s File Stamp
          S U P E R I O R C OU R T O F C AL I FO R N I A
               C O U N T Y O F LO S AN G E L E S
COURTHOUSE ADDRESS:

Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF(S):

John August
DEFENDANT(S):

St. John's Well Child and Family Center Inc.
                                                                                   CASE NUMBER:
            NOTICE OF CONTINUANCE DUE TO COVID-19
             STATE OF EMERGENCY DECLARATIONS                                       19STSC13664



Based on current conditions, including, but not limited to, the spread of Covid-19, the need for
social distancing, and the states of emergency having been declared by Governor Gavin Newsom
and President Donald Trump, the General Orders issued by the Presiding Judge and Statewide
Orders issued by the Chief Justice, the court finds good cause to continue this matter.

  The matter is continued for a Small Claims Appeal-Trial De Novo on 08/17/2020 at 1:30 a.m. in Department 1A of
 the Stanley Mosk Courthouse.




                                  NOTICE OF CONTINUANCE DUE TO COVID-19
                                   STATE OF EMERGENCY DECLARATIONS
LASC CIV 277 NEW 04/20
For Optional Use
                                                                                                 USA_000026
 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 27 of 75 Page ID #:45
                                                                                   Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice Of Remote Appearances And Exchange
And Submission Of Evidence Protocol upon each party or counsel named below by placing the document
for collection and mailing so as to cause it to be deposited in the United States mail at the courthouse in
Los Angeles, California, one copy of the original filed/entered herein in a separate sealed envelope to each
address as shown below with the postage thereon fully prepaid, in accordance with standard court
practices.




    John August                                                St. John's Well Child and Family Center Inc.
    5939 Coldbrook Ave.                                        5939 Coldbrook
    Room 3                                                     Lakewood, CA 90713
    Lakewood, CA 90713




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 07/31/2020                                    By:   J. Preciado-Valdez
                                                           Deputy Clerk



                                                                                              USA_000027
                                      CERTIFICATE OF MAILING
 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 28 of 75 Page ID #:46
                                                                                   Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Nunc Pro Tunc Order) of
08/17/2020 upon each party or counsel named below by placing the document for collection and mailing
so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles, California, one
copy of the original filed/entered herein in a separate sealed envelope to each address as shown below
with the postage thereon fully prepaid, in accordance with standard court practices.




    John August                                                St. John's Well Child and Family Center Inc.
    5939 Coldbrook Ave.                                        5939 Coldbrook
    Room 3                                                     Lakewood, CA 90713
    Lakewood, CA 90713




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 08/18/2020                                     By:   A. Rising
                                                            Deputy Clerk



                                                                                              USA_000028
                                      CERTIFICATE OF MAILING
 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 29 of 75 Page ID #:47
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Small Claims Appeal - Trial De
Novo) of 08/17/2020 upon each party or counsel named below by placing the document for collection and
mailing so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as
shown below with the postage thereon fully prepaid, in accordance with standard court practices.




    John August                                               St. John's Well Child and Family Center Inc.
    b939 Coldwrook Ave.                                       b939 Coldwrook
    Room 3                                                    Lake7 ood, CA 90513
    Lake7 ood, CA 90513




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 08/15/2020                                    By:   A. Rising
                                                           Deputy Clerk



                                                                                             USA_000029
                                     CERTIFICATE OF MAILING
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 30 of 75 Page ID #:48

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                             Civil Division
                     Central District, Stanley Mosk Courthouse, Department 1A

  19STSC13664                                                                      August 17, 2020
  JOHN AUGUST vs ST. JOHN'S WELL CHILD AND FAMILY                                         3:30 PM
  CENTER INC.


  Judge Pro Tem: Josh Stinn                         CSR: None
  Judicial Assistant: A. Rising                     ERM: None
  Courtroom Assistant: None                         Deputy Sheriff: S. Castro-Ramos

  APPEARANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Nunc Pro Tunc Order

  It appearing to the Court that through inadvertence and/or clerical error, the minute order of
  08/17/2020 in the above-entitled action does not properly reflect the Court's order. Said minute
  order is ordered corrected nunc pro tunc as of 08/17/2020, as follows:



  By striking:

  Judge Pro Tem: Joseph Donnini, Jr

  By Substituting:

  Judge Pro Tem: Josh Stinn

  Certificate of Mailing is attached.




                                            Minute Order                                 Page 1 of 1
                                                                                      USA_000030
                                                       Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 31 of 75 Page ID #:49

                                                            SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                     Civil Division
                                                                             Central District, Stanley Mosk Courthouse, Department 1A

                                                         19STSC13664                                                                       August 17, 2020
                                                         JOHN AUGUST vs ST. JOHN'S WELL CHILD AND FAMILY                                          1:30 PM
                                                         CENTER INC.


                                                         Judge Pro Tem: Joseph Donnini, Jr.                CSR: None
                                                         Judicial Assistant: A. Rising                     ERM: Electronically Recorded
                                                         Courtroom Assistant: None                         Deputy Sheriff: S. Castro-Ramos

                                                         APPEARANCES:
                                                         For Plaintiff(s): John August
                                                         For Defendant(s): No Appearances
SEE NUNC PRO TUNC MINUTE ORDER OF 08/17/2020 3:30 PM




                                                         NATURE OF PROCEEDINGS: Small Claims Appeal - Trial De Novo

                                                         All parties in court having been advised verbally and via posted notices, and there being no
                                                         objections, agree that/are deemed to have agreed that Josh Stinn, an attorney, who is a member
                                                         of the State Bar of California and who is qualified in accordance with Article 6, section 21 of the
                                                         Constitution of the State of California, may, as Temporary Judge, preside over this hearing/try
                                                         this case.

                                                         The cause is called for trial.

                                                         There is no appearance by or for the defendant.

                                                         The plaintiff is sworn and testifies.

                                                         The Notice of Appeal on Small Claims Judgment filed by St. John's Well Child and Family
                                                         Center Inc. on 03/06/2020 is ordered dismissed.

                                                         The judgment entered on 02/06/2020 on the Plaintiff's Claim filed by John August on
                                                         12/09/2019 is to stand.

                                                         Certificate of Mailing is attached.




                                                                                                   Minute Order                                  Page 1 of 1
                                                                                                                                              USA_000031
 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 32 of 75 Page ID #:50
                                                                                 Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Rejection upon each party or counsel
named below by placing the document for collection and mailing so as to cause it to be deposited in the
United States mail at the courthouse in Los Angeles, California, one copy of the original filed/entered
herein in a separate sealed envelope to each address as shown below with the postage thereon fully
prepaid, in accordance with standard court practices.


    Jacob S. Rosenberg
    Law + Brandmeyer, LLP
    2 N Lake Avenue Suite #820
    Pasadena, CA 91101




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 09/2/2020                                     By:   Y. Escalante
                                                           Deputy Clerk



                                                                                            USA_000032
                                     CERTIFICATE OF MAILING
    Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 33 of 75 Page ID #:51


                                SUPERIOR COURT OF CALIFORNIA
                                   COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF(S):

John August
DEFENDANT(S):

St. John's Well Child and Family Center Inc.
      NOTICE OF REJECTION – SMALL CLAIMS                               &$6(180%(5 19STSC13664

<RXUVXEPLVVLRQcannot be processed for the following reason(s):
'RFXPHQW Motion to Vacate Judgment
□        Courthouse is incorrect
□        Case number is incorrect or missing
□        Filing party / signature / date is incorrect or missing
□        Section(s) incomplete @@@@@@@@@@@@@@@@@@@@@@@@@
□        Dismissal entered on @@@@@@@@
□        Judgment entered on @@@@@@@@
□        Judgment amount is required or incorrect
□        @@@@@@@@ filing fee is required
□        Amount of accrued interest is incorrect
□        Ten year limitation on judgment expired on @@@@@@@@
□        Memorandum of Costs after Judgment has not been filed
□        Only one judgment debtor may be named on application
□        No Substitution of Attorney has been filed
□        Judgment has been stayed
□
✔        Other: The Motion to Vacate can not be filed due to the fact the Defendant was present at the time of the initial
                      Trial. The form that you need to fill out is SC105 Request for Court Order and Answer. Please
                      resubmit that form for consideration .




Please return this correspondence with your resubmission.

       09-02-20
Dated: _____________________________                             Y. Escalante
                                                             By: ______________________________________
                                                                           Deputy Clerk


                                         NOTICE OF REJECTION – SMALL CLAIMS

LACIV XXX
LASC Approved 00-00                                                                                  USA_000033
 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 34 of 75 Page ID #:52
                                                                                   Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Request for Court Order and Answer upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Los Angeles, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




    John August                                                St. John's Well Child and Family Center Inc.
    5939 Coldbrook Ave.                                        5939 Coldbrook
    Room 3                                                     Lakewood, CA 90713
    Lakewood, CA 90713




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 09/3/2020                                     By:   C. Jackson
                                                           Deputy Clerk



                                                                                              USA_000034
                                      CERTIFICATE OF MAILING
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 35 of 75 Page ID #:53




                                                                   USA_000035
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 36 of 75 Page ID #:54




                                                                   USA_000036
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 37 of 75 Page ID #:55




                                                                   USA_000037
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 38 of 75 Page ID #:56




                                                                   USA_000038
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 39 of 75 Page ID #:57




                                                                   USA_000039
 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 40 of 75 Page ID #:58
                                                                                   Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order re: Request for Court
Order) of 09/28/2020 upon each party or counsel named below by placing the document for collection and
mailing so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as
shown below with the postage thereon fully prepaid, in accordance with standard court practices.




    John August                                                St. John's Well Child and Family Center Inc.
    5939 Coldbrook Ave.                                        5939 Coldbrook
    Room 3                                                     Lakewood, CA 90713
    Lakewood, CA 90713




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 10/1/2020                                     By:   R. Karapetyan
                                                           Deputy Clerk



                                                                                              USA_000040
                                      CERTIFICATE OF MAILING
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 41 of 75 Page ID #:59

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                             Civil Division
                     Central District, Stanley Mosk Courthouse, Department 1A

  19STSC13664                                                               September 28, 2020
  JOHN AUGUST vs ST. JOHN'S WELL CHILD AND FAMILY                                    9:15 AM
  CENTER INC.


  Judge: Honorable Thomas J. Griego               CSR: None
  Judicial Assistant: R. Karapetyan               ERM: None
  Courtroom Assistant: None                       Deputy Sheriff: None

  APPEARANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Court Order re: Request for Court Order

  After reviewing Request for Court Order and Answer to Relieve Defendant of Dismissal of Its
  Appeal filed by the Defendant on 09/03/2020 in Chambers, the Court rules as follows:

  The request is DENIED.

  Order is signed and filed on this date.

  Certificate of Mailing is attached.




                                            Minute Order                             Page 1 of 1
                                                                                  USA_000041
 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 42 of 75 Page ID #:60
                                                                                   Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Request for Court Order and Answer upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Los Angeles, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




    John August                                                St. John's Well Child and Family Center Inc.
    5939 Coldbrook Ave.                                        5939 Coldbrook
    Room 3                                                     Lakewood, CA 90713
    Lakewood, CA 90713




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 11/10/2020                                    By:   Y. Escalante
                                                           Deputy Clerk



                                                                                              USA_000042
                                      CERTIFICATE OF MAILING
    Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 43 of 75 Page ID #:61


                                SUPERIOR COURT OF CALIFORNIA
                                   COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF(S):

John August
DEFENDANT(S):

St. John's Well Child and Family Center Inc.
      NOTICE OF REJECTION – SMALL CLAIMS                                 &$6(180%(5 19STSC13664

<RXUVXEPLVVLRQcannot be processed for the following reason(s):
'RFXPHQW SC108 and Motion to Vacate
□        Courthouse is incorrect
□        Case number is incorrect or missing
□        Filing party / signature / date is incorrect or missing
□        Section(s) incomplete @@@@@@@@@@@@@@@@@@@@@@@@@
□        Dismissal entered on @@@@@@@@
□        Judgment entered on @@@@@@@@
□        Judgment amount is required or incorrect
□        @@@@@@@@ filing fee is required
□        Amount of accrued interest is incorrect
□        Ten year limitation on judgment expired on @@@@@@@@
□        Memorandum of Costs after Judgment has not been filed
□        Only one judgment debtor may be named on application
□        No Substitution of Attorney has been filed
□        Judgment has been stayed
□
✔        Other: We can not process your SC108 30 days has past on the Judgment and the Motion to Vacate can not
                      be processed due to the fact that you were present in the initial Non-Jury Trial.




Please return this correspondence with your resubmission.

       11-10-20
Dated: _____________________________                               Y. Escalante
                                                               By: ______________________________________
                                                                             Deputy Clerk


                                          NOTICE OF REJECTION – SMALL CLAIMS

LACIV XXX
LASC Approved 00-00                                                                                       USA_000043
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 44 of 75 Page ID #:62




                                                                   USA_000044
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 45 of 75 Page ID #:63




                                                                   USA_000045
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 46 of 75 Page ID #:64




                                                                   USA_000046
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 47 of 75 Page ID #:65




                                                                   USA_000047
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 48 of 75 Page ID #:66




                                                                   USA_000048
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 49 of 75 Page ID #:67




                                                                   USA_000049
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 50 of 75 Page ID #:68




                                                                   USA_000050
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 51 of 75 Page ID #:69




                                                                   USA_000051
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 52 of 75 Page ID #:70




                                                                   USA_000052
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 53 of 75 Page ID #:71




                                                                   USA_000053
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 54 of 75 Page ID #:72




                                                                   USA_000054
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 55 of 75 Page ID #:73




                                                                   USA_000055
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 56 of 75 Page ID #:74




                                                                   USA_000056
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 57 of 75 Page ID #:75




                                                                   USA_000057
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 58 of 75 Page ID #:76




                                                                   USA_000058
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 59 of 75 Page ID #:77




                                                                   USA_000059
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 60 of 75 Page ID #:78




                                                                   USA_000060
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 61 of 75 Page ID #:79




                                                                   USA_000061
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 62 of 75 Page ID #:80




                                                                   USA_000062
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 63 of 75 Page ID #:81




                                                                   USA_000063
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 64 of 75 Page ID #:82




                                                                   USA_000064
        Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 65 of 75 Page ID #:83
                                                                                                                                                                 EJ-130
ATTORNEY OR PARTY WITHOUT ATTORNEY:                  STATE BAR NO.:
                                                                                                                           FOR COURT USE ONLY
NAME:    John August
FIRM NAME:
STREET ADDRESS: 5939 Coldbrook Ave., Room 3
CITY:   Lakewood                                        STATE:   CA      ZIP CODE:   90713
TELEPHONE NO.:                                           FAX NO.:

EMAIL ADDRESS:

ATTORNEY FOR (name):
              ATTORNEY FOR        ✔   ORIGINAL JUDGMENT CREDITOR             ASSIGNEE OF RECORD

SUPERIOR COURT OF CALIFORNIA, COUNTY OF                    Los Angeles
 STREET ADDRESS:       111 North Hill Street
 MAILING ADDRESS:
CITY AND ZIP CODE:
                Los Angeles CA 90012
     BRANCH NAME:
                Stanley Mosk Courthouse
 PLAINTIFF/PETITIONER: John August                                                                       CASE NUMBER:

 DEFENDANT/RESPONDENT: St. John's Well Child and Family Center Inc.                                                      19STSC13664
                  ✔      EXECUTION (Money Judgment)                                                       ✔    Limited Civil Case
                                                                                                               (including Small Claims)
WRIT OF                  POSSESSION OF                     Personal Property
                                                                                                               Unlimited Civil Case
                         SALE                              Real Property
                                                                                                               (including Family and Probate)

1. To the Sheriff or Marshal of the County of: Los Angeles
   You are directed to enforce the judgment described below with daily interest and your costs as provided by law.
2. To any registered process server: You are authorized to serve this writ only in accordance with CCP 699.080 or CCP 715.040.
3. (Name): John August
     is the     ✔      original judgment creditor                assignee of record       whose address is shown on this form above the court’s name.
4. Judgment debtor (name, type of legal entity if not a                 9.            Writ of Possession/Writ of Sale information on next page.
   natural person, and last known address):                            10.           This writ is issued on a sister-state judgment.
                                                                       For items 11–17, see form MC-012 and form MC-013-INFO.
        St. John's Well Child and Family Center Inc.                   11. Total judgment (as entered or renewed)                     $                 10,040.00
        808 W. 58th St                                                 12. Costs after judgment (CCP 685.090)                         $                      0.00
        Los Angeles, CA 90037
                                                                       13. Subtotal (add 11 and 12)                                   $                 10,040.00
                                                                       14. Credits to principal (after credit to interest)            $                      0.00
              Additional judgment debtors on next page                 15. Principal remaining due (subtract 14 from 13) $                              10,040.00
                                                                       16. Accrued interest remaining due per            $                                 800.00
5. Judgment entered on (date): 02/06/2020                                  CCP 685.050(b) (not on GC 6103.5 fees)
   (See type of judgment in item 22.)                                  17. Fee for issuance of writ (per GC 70626(a)(l)) $                                    0.00
6.            Judgment renewed on (dates):                             18. TotaI amount due (add 15, 16, and 17)                      $                  10,840.00
                                                                       19. Levying officer:
                                                                           a. Add daily interest from date of writ (at
7. Notice of sale under this writ:
                                                                              the legal rate on 15) (not on
   a. ✔ has not been requested.                                                                                                                                    2.77
                                                                              GC 6103.5 fees) . . . . . . . . . . . . . . . .         $
   b.        has been requested (see next page).
                                                                           b. Pay directly to court costs included in
8.            Joint debtor information on next page.                          11 and 17 (GC 6103.5, 68637;
                                                                              CCP 699.520(j)) . . . . . . . . . . . . . . . .         $                        115.00
  [SEAL]
                                                                        20.          The amounts called for in items 11–19 are different for each
                                                                                     debtor. These amounts are stated for each debtor on
                                                                                     Attachment 20.

                                                                                             Sherri R. Carter, Executive Officer / Clerk of Court
                                           Date:   11/30/2020                                Clerk, by   K. Chan                                               , Deputy
                                            NOTICE TO PERSON SERVED: SEE PAGE 3 FOR IMPORTANT INFORMATION.
                                                                                                                                                                 Page 1 of 3

Form Approved for Optional Use
Judicial Council of California
                                                                    WRIT OF EXECUTION                                   Code of Civil Procedure, §§ 699.520, 712.010, 715.010
                                                                                                                                                  Government Code, § 6103.5
EJ-130 [Rev. September 1, 2020]                                                                                                                            www.courts.ca.gov
                                                                                                                                        USA_000065
       Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 66 of 75 Page ID #:84
                                                                                                                                          EJ-130
                John August
 Plaintiff/Petitioner:                                            CASE NUMBER:

Defendant/Respondent: St. John's Well Child and Family Center Inc                                             19STSC13664

21.           Additional judgment debtor(s) (name, type of legal entity if not a natural person, and last known address):




22. The judgment is for (check one):

       a.                wages owed.
       b.                child support or spousal support.
       c.     ✔          other. Judgment

23.           Notice of sale has been requested by (name and address):




24.           Joint debtor was declared bound by the judgment (CCP 989-994)
      a. on (date):                                                                a. on (date):
      b. name, type of legal entity if not a natural person, and                   b. name, type of legal entity if not a natural person, and
         last known address of joint debtor:                                          last known address of joint debtor:




      c.            Additional costs against certain joint debtors are itemized:         below          on Attachment 24c.



25.               (Writ of Possession or Writ of Sale) Judgment was entered for the following:
      a.            Possession of real property: The complaint was filed on (date):
                    (Check (1) or (2). Check (3) if applicable. Complete (4) if (2) or (3) have been checked.)
            (1)            The Prejudgment Claim of Right to Possession was served in compliance with CCP 415.46. The
                           judgment includes all tenants, subtenants, named claimants, and other occupants of the premises.
            (2)            The Prejudgment Claim of Right to Possession was NOT served in compliance with CCP 415.46.
            (3)            The unlawful detainer resulted from a foreclosure sale of a rental housing unit. (An occupant not named in the
                           judgment may file a Claim of Right to Possession at any time up to and including the time the levying officer returns
                           to effect eviction, regardless of whether a Prejudgment Claim of Right to Possession was served.) (See CCP
                           415.46 and 1174.3(a)(2).)
            (4) If the unlawful detainer resulted from a foreclosure (item 25a(3)), or if the Prejudgment Claim of Right to Possession was
                not served in compliance with CCP 415.46 (item 25a(2)), answer the following:
                   (a)      The daily rental value on the date the complaint was filed was $
                   (b)      The court will hear objections to enforcement of the judgment under CCP 1174.3 on the following dates (specify):




                                                             Item 25 continued on next page
EJ-130 [Rev. September 1, 2020]                                 WRIT OF EXECUTION                                                        Page 2 of 3

                                                                                                                        USA_000066
      Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 67 of 75 Page ID #:85
                                                                                                                                         EJ-130
Plaintiff/Petitioner:      John August                                                       CASE NUMBER:

Defendant/Respondent:         St. John's Well Child and Family Center Inc.                                   19STSC13664

25. b.            Possession of personal property.
                            If delivery cannot be had, then for the value (itemize in 25e) specified in the judgment or supplemental order.
    c.            Sale of personal property.
    d.       Sale of real property.
    e. The property is described                   below           on Attachment 25e.




                                                           NOTICE TO PERSON SERVED

WRIT OF EXECUTION OR SALE. Your rights and duties are indicated on the accompanying Notice of Levy (form EJ-150).


WRIT OF POSSESSION OF PERSONAL PROPERTY. If the levying officer is not able to take custody of the property, the levying
officer will demand that you turn over the property. If custody is not obtained following demand, the judgment may be enforced as a
money judgment for the value of the property specified in the judgment or in a supplemental order.


WRIT OF POSSESSION OF REAL PROPERTY. If the premises are not vacated within five days after the date of service on the
occupant or, if service is by posting, within five days after service on you, the levying officer will remove the occupants from the real
property and place the judgment creditor in possession of the property. Except for a mobile home, personal property remaining on the
premises will be sold or otherwise disposed of in accordance with CCP 1174 unless you or the owner of the property pays the
judgment creditor the reasonable cost of storage and takes possession of the personal property not later than 15 days after the time
the judgment creditor takes possession of the premises.


EXCEPTION IF RENTAL HOUSING UNIT WAS FORECLOSED. If the residential property that you are renting was sold in a
foreclosure, you have additional time before you must vacate the premises. If you have a lease for a fixed term, such as for a year, you
may remain in the property until the term is up. If you have a periodic lease or tenancy, such as from month-to-month, you may remain
in the property for 90 days after receiving a notice to quit. A blank form Claim of Right to Possession and Notice of Hearing (form
CP10) accompanies this writ. You may claim your right to remain on the property by filling it out and giving it to the sheriff or levying
officer.


EXCEPTION IF YOU WERE NOT SERVED WITH A FORM CALLED PREJUDGMENT CLAIM OF RIGHT TO POSSESSION. If you
were not named in the judgment for possession and you occupied the premises on the date on which the unlawful detainer case was
filed, you may object to the enforcement of the judgment against you. You must complete the form Claim of Right to Possession and
Notice of Hearing (form CP10) and give it to the sheriff or levying officer. A blank form accompanies this writ. You have this right
whether or not the property you are renting was sold in a foreclosure.




EJ-130 [Rev. September 1, 2020]                               WRIT OF EXECUTION                                                         Page 3 of 3


                                                                                                                       USA_000067
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 68 of 75 Page ID #:86




                                                                   USA_000068
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 69 of 75 Page ID #:87




                                                                   USA_000069
       Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 70 of 75 Page ID #:88

                                            Order on Court Fee Waiver                        Clerk stamps date here when form is filed.
        FW-003                              (Superior Court)
  1      Person who asked the court to waive court fees:
         Name: John August
         Street or mailing address: 5939 Coldbrook Ave. Room 3
         City: Lakewood                     State: CA    Zip: 90713

  2      Lawyer, if person in 1 has one (name, firm name, address,
         phone number, e-mail, and State Bar number):
                                                                                             Fill in court name and street address:
                                                                                              Superior Court of California, County of
                                                                                                          /RV$QJHOHV

                                                                                              Stanley Mosk Courthouse
                                                                                              111 North Hill Street
                                                                                              Los Angeles CA 90012
                                                                                             Fill in case number and name:
  3      A request to waive court fees was filed on (date): 11/30/2020
                                                                                              Case Number:
                 The court made a previous fee waiver order in this case on (date):          19STSC13664
                                                                                              Case Name:
Read this form carefully. All checked boxes ; are court orders.                              JOHN AUGUST vs ST. JOHN'S WELL CHILD AND FAMILY CENTER INC.




 Notice: The court may order you to answer questions about your finances and later order you to pay back the waived
 fees. If this happens and you do not pay, the court can make you pay the fees and also charge you collection fees. If there
 is a change in your financial circumstances during this case that increases your ability to pay fees and costs, you must
 notify the trial court within five days. (Use form FW-010.) If you win your case, the trial court may order the other side
 to pay the fees. If you settle your civil case for $10,000 or more, the trial court will have a lien on the settlement in the
 amount of the waived fees. The trial court may not dismiss the case until the lien is paid.

  4      After reviewing your:      ✔ Request to Waive Court Fees                        Request to Waive Additional Court Fees
         the court makes the following orders:
         a. ✔ The court grants your request, as follows:
               (1) ✔ Fee Waiver. The court grants your request and waives your court fees and costs listed below. (Cal.
                        Rules of Court, rules 3.55 and 8.818.) You do not have to pay the court fees for the following:
                   • Filing papers in superior court                             • Court fee for phone hearing
                   • Making copies and certifying copies                         • Giving notice and certificates
                   • Sheriff’s fee to give notice                                • Sending papers to another court department
                   • Reporter’s fee for attendance at hearing or trial, if the court is not electronically recording the proceeding
                     and you request that the court provide an official reporter
                   • Assessment for court investigations under Probate Code section 1513, 1826, or 1851
                   • Preparing, certifying, copying, and sending the clerk’s transcript on appeal
                   • Holding in trust the deposit for a reporter¶s transcript on appeal under rule 8.130 or 8.834
                   • Making a transcript or copy of an official electronic recording under rule 8.835
               (2)          Additional Fee Waiver. The court grants your request and waives your additional superior court fees
                            and costs that are checked below. (Cal. Rules of Court, rule 3.56.) You do not have to pay for the
                            checked items.
                               Jury fees and expenses                            Fees for a peace officer to testify in court
                               Fees for court-appointed experts                  Court-appointed interpreter fees for a witness
                               Other (specify):
Judicial Council of California, www.courts.ca.gov
Revised September 1, 2019, Mandatory Form           Order on Court Fee Waiver (Superior Court)                                FW-003, Page 1 of 3
Government Code, § 68634(e)
Cal. Rules of Court, rule 3.52
                                                                                                                      USA_000070
      Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 71 of 75 Page ID #:89
                                                                                                Case Number:
 Your name:              John August                                                            19STSC13664

        b.         The court denies your fee waiver request because:
                    Warning! If you miss the deadline below, the court cannot process your request for hearing or the court papers
                    you filed with your original request. If the papers were a notice of appeal, the appeal may be dismissed.
             (1) Your request is incomplete. You have 10 days after the clerk gives notice of this Order (see date of service
                 on next page) to:
                        • Pay your fees and costs, or
                        • File a new revised request that includes the incomplete items listed:
                               Below        On Attachment 4b(1)




             (2)          The information you provided on the request shows that you are not eligible for the fee waiver you
                          requested for the reasons stated:  Below        On Attachment 4b(2)




                          The court has enclosed a blank Request for Hearing About Court Fee Waiver Order (Superior Court)
                          (form FW-006).You have 10 days after the clerk gives notice of this order (see date of service below) to:
                              • Pay your fees and costs in full or the amount listed in c below, or
                              • Ask for a hearing in order to show the court more information. (Use form FW-006 to request
                                hearing.)

        c. (1)            The court needs more information to decide whether to grant your request. You must go to court on the
                          date on page 3. The hearing will be about the questions regarding your eligibility that are stated:
                              Below        On Attachment 4c(1)




             (2)           Bring the items of proof to support your request, if reasonably available, that are listed:
                              Below         On Attachment 4c(2)




                                                         This is a Court Order.
Rev. September 1, 2019
                                           Order on Court Fee Waiver (Superior Court)                                   FW-003, Page 2 of 3
                                                                                                                  USA_000071
      Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 72 of 75 Page ID #:90
                                                                                               Case Number:
 Your name:              John August                                                           19STSC13664

                                                                                 Name and address of court if different from above:

           Hearing J Date:                               Time:
            Date
                            Dept.:                      Room:



          Warning! If item c(1) is checked, and you do not go to court on your hearing date, the judge will deny your
          request to waive court fees, and you will have 10 days y to payy your fees. If you
                                                                                          y u miss that deadline,
                                                                                          yo             dea      the court cannot
          process the court papers you filed with your
                                                     ur request.
                                                        requ
                                                        reques
                                                             estt. If
                                                                   If the
                                                                      the papers
                                                                          pape
                                                                          pa pers
                                                                               rs were
                                                                                  wer
                                                                                   eree a notice
                                                                                          nottice
                                                                                          no   ce of
                                                                                                  of appeal, the
                                                                                                             t appeal may be
          dismissed.


         Date: 11/30/2020
                                                          Signature of (check one):         Judicial Officer   ✔   Clerk, Deputy



                                                    Request for Accommodations

                         Assistive listening systems, computer-assisted real-time captioning, or sign language interpreter services
                         are available if you ask at least five days before the hearing. Contact the clerk’s office for Request for
                         Accommodations by Persons With Disabilities and Response (form MC-410). (Civ. Code, § 54.8.)




                                                          Clerk's Certificate of Service
I certify that I am not involved in this case and (check one):
✔ I handed a copy of this Order to the party and attorney, if any, listed in 1 and 2 , at the court, on the date below.
     This order was mailed first class, postage paid, to the party and attorney, if any, at the addresses listed in 1 and 2 ,
     from (city): Los Angeles                           , California, on the date below.
          A certificate of mailing is attached.
         Date: 11/30/2020                                    Sherri R. Carter, Executive Officer / Clerk of Court

                                                                                 K. Chan
                                                                       Clerk, by ________________________________ , Deputy
                                                                       Name:




                                                         This is a Court Order.
Rev. September 1, 2019
                                          Order on Court Fee Waiver (Superior Court)                                  FW-003, Page 3 of 3
                                                                                                               USA_000072
 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 73 of 75 Page ID #:91
                                                                                   Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order) of 12/03/2020 upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Los Angeles, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




    John August                                                St. John's Well Child and Family Center Inc.
    8939 Cold5rook Ave.                                        707 W. 87th St.
    Room 3                                                     Los Angeles, CA 9003w
    Lakeb ood, CA 90w13




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 12/10/2020                                    By:   A. Rising
                                                           Deputy Clerk



                                                                                              USA_000073
                                      CERTIFICATE OF MAILING
Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 74 of 75 Page ID #:92

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                             Civil Division
                     Central District, Stanley Mosk Courthouse, Department 1A

  19STSC13664                                                                      December 3, 2020
  JOHN AUGUST vs ST. JOHN'S WELL CHILD AND FAMILY                                         8:30 AM
  CENTER INC.


  Judge: Honorable Samantha Jessner                  CSR: None
  Judicial Assistant: A. Rising                      ERM: None
  Courtroom Assistant: None                          Deputy Sheriff: None

  APPEARANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Court Order

  The Defendant's Request for Court Order and Answer to vacate the dismissal of its appeal and
  reschedule the appeal hearing filed on November 10, 2020 is reviewed by the Court in chambers.

  Upon review of the above indicated request, the Court rules as follows:

  The request is granted.

  The August 17, 2020 entry of dismissal of The Notice of Appeal on Small Claims Judgment filed
  by St. John's Well Child and Family Center Inc. on 03/06/2020 is hereby vacated.

  Small Claims Appeal - Trial De Novo is scheduled for 03/30/2021 at 01:30 PM in Department
  1A at Stanley Mosk Courthouse.

  The Court orders the defendant's address corrected as follows: 808 W. 58th St., Los Angeles, CA
  90037.

  The Writ of Execution issued on November 30, 2020 is stayed pending the above indicated
  appeal hearing.

  The Order on Request for Court Order is signed, filed and entered this date.

  A certified copy of this minute order is hand delivered to the levying officer located at 110 N.
  Grand Avenue, Room 525, Los Angeles, CA 90012..

  Certificate of Mailing is attached.

                                            Minute Order                                  Page 1 of 1
                                                                                       USA_000074
 Case 2:21-cv-02635-DSF-PVC Document 3-1 Filed 03/26/21 Page 75 of 75 Page ID #:93
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John August
DEFENDANT/RESPONDENT:
St. John's Well Child and Family Center Inc.
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             19STSC13664

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Online Dispute Resolution (ODR) Meet
and Confer - Small Claims upon each party or counsel named below by placing the document for
collection and mailing so as to cause it to be deposited in the United States mail at the courthouse in Los
Angeles, California, one copy of the original filed/entered herein in a separate sealed envelope to each
address as shown below with the postage thereon fully prepaid, in accordance with standard court
practices.




    John August                                               St. John's Well Child and Family Center Inc.
    8939 Cold5rook Ave.                                       707 W. 87th St.
    Room 3                                                    Los Angeles, CA 9003w
    Lakeb ood, CA 90w13




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 02/23/2021                                    By:   M. Faune
                                                           Deputy Clerk



                                                                                             USA_000075
                                     CERTIFICATE OF MAILING
